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     Federal Defender
 2   Lexi Negin, Bar #250376
     Assistant Federal Defender
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     Sacramento, California 95814
 4   Telephone: (916) 498-5700
 5   Attorney for Defendant
     KURT GERARD ENGELHARDT
 6
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 8
                                   IN THE UNITED STATES DISTRICT COURT
 9
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,             )              CASE NO. CR. S-09-00195 FCD
                                           )
12                     Plaintiff,          )
                                           )              STIPULATION AND ORDER TO CONTINUE
13         v.                              )              STATUS HEARING AND TO EXCLUDE TIME
                                           )              PURSUANT TO THE SPEEDY TRIAL ACT
14                                         )
     KURT GERARD ENGELHARDT,               )
15                                         )
                       Defendant.          )
16   _____________________________________ )
17          This case is currently scheduled for a status hearing on November 16, 2009. The attorneys for both
18   parties have conferred and agree that additional time is needed for defense preparation and meetings
19   between the parties with the goal being to resolve the case by way of a disposition.
20          The parties, through their respective counsel, hereby stipulate and agree that the status conference
21   scheduled in this case for November 16, 2009, be continued until December 14, 2009, at 10:00 a.m.. In
22   addition, the parties stipulate that the time period from November 16, 2009, to December 14, 2009, be
23   excluded from computation of time within which the trial of this matter must be commenced under the
24   Speedy Trial Act (18 U.S.C. §3161(h)(7)(A)&(B)(iv) and Local Code T4), due to the need to provide
25   defense counsel with the reasonable time to prepare. Specifically, defense counsel desires time to
26   negotiate a resolution of this case and time to explain the ramifications of any such proposed resolution to
27   defendant.
28                                                         1
              Case 2:09-cr-00195-JAM Document 38 Filed 11/10/09 Page 2 of 2


 1   ///
 2   DATED: November 10, 2009
 3
                         Respectfully submitted,
 4
     BENJAMIN B. WAGNER                                DANIEL BRODERICK
 5   United States Attorney                            Federal Defender
 6
 7   By: /s/ Lexi Negin for                            /s/ Lexi Negin
           SAMUEL WONG                                 LEXI NEGIN
 8         Assistant U.S. Attorney                     Assistant Federal Defender
           Attorney for the                            Attorney for Kurt Gerard Engelhardt
 9          United States of America
10
11         IT IS SO ORDERED.
12   DATED: November 10, 2009
13                                                 _______________________________________
                                                   FRANK C. DAMRELL, JR.
14                                                 UNITED STATES DISTRICT JUDGE

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